     Case 21-03020-sgj Doc 121 Filed 10/12/21                 Entered 10/12/21 15:32:42              Page 1 of 8




     LATHAM & WATKINS LLP                                   BUTLER SNOW LLP
     Andrew Clubok (pro hac vice)                           Martin Sosland (TX Bar No. 18855645)
     Sarah Tomkowiak (pro hac vice)                         Candice Carson (TX Bar No. 24074006)
     555 Eleventh Street, NW, Suite 1000                    2911 Turtle Creek Blvd., Suite 1400
     Washington, DC 20004                                   Dallas, Texas 75219
     Telephone: (202) 637-2200                              Telephone: (469) 680-5502

     Jeffrey E. Bjork (pro hac vice)
     Kimberly A. Posin (pro hac vice)
     355 South Grand Avenue, Suite 100
     Los Angeles, CA 90071
     Telephone: (213) 485-1234

     Kathryn George (pro hac vice)
     330 North Wabash Avenue, Suite 2800
     Chicago, IL 60611
     Telephone: (312) 876-7700

     Counsel for UBS Securities LLC and
     UBS AG London Branch

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re                                 §                              Chapter 11
                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1 §                                Case No. 19-34054-sgj11
                                       §
                            Debtor.    §
                                       §
 UBS SECURITIES LLC AND UBS AG         §                              Adversary Proceeding
 LONDON BRANCH,                        §
                                       §                              No. 21-03020
                Plaintiffs,            §
                                       §
 vs.                                   §
                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                       §
                            Defendant. §



 1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
 for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



61744638.v2
  Case 21-03020-sgj Doc 121 Filed 10/12/21            Entered 10/12/21 15:32:42    Page 2 of 8



                             NOTICE OF STATUS CONFERENCE

        PLEASE TAKE NOTICE that the following matter is scheduled for a status conference

on Wednesday, October 27, 2021 at 1:30 p.m. (Central Time) (the “Status Conference”) in the

above-captioned adversary case:      Order Granting Plaintiffs’ Motion to Compel and Denying

Motion of Former Employees to Quash Subpoenas [Docket No. 94] (the “Order”).

        The Status Conference on the Order will be held via WebEx videoconference before The

Honorable Stacey G. C. Jernigan, United States Bankruptcy Judge. The WebEx video

participation/attendance link for the Status Conference is: https://us-

courts.webex.com/meet/jerniga.

        A copy of the WebEx Hearing Instructions for the Status Conference is attached hereto as

Exhibit A; alternatively, the WebEx Hearing Instructions for the Status Conference may be

obtained from Judge Jernigan’s hearing/calendar site at: https://www.txnb.uscourts.gov/judges-

info/hearing-dates/judgejernigans-hearing-dates.




                            [Remainder of Page Intentionally Left Blank]




61744638.v2
  Case 21-03020-sgj Doc 121 Filed 10/12/21       Entered 10/12/21 15:32:42      Page 3 of 8




        DATED this 12th day of October 2021.

                                          BUTLER SNOW LLP

                                          By /s/ Candice M. Carson

                                          Martin Sosland (TX Bar No. 18855645)
                                          Candice M. Carson (TX Bar No. 24074006)
                                          2911 Turtle Creek Boulevard, Suite 1400
                                          Dallas, Texas 75219
                                          Telephone: (469) 680-5502
                                          E-mail: martin.sosland@butlersnow.com
                                                  candice.carson@butlersnow.com

                                          LATHAM & WATKINS LLP

                                          Andrew Clubok (pro hac vice)
                                          Sarah Tomkowiak (pro hac vice)
                                          555 Eleventh Street, NW, Suite 1000
                                          Washington, District of Columbia
                                          Telephone: (202) 637-2200
                                          Email: andrew.clubok@lw.com
                                                 sarah.tomkowiak@lw.com

                                          and


                                          Jeffrey E. Bjork (pro hac vice)
                                          Kimberly A. Posin (pro hac vice)
                                          355 South Grand Avenue, Suite 100
                                          Los Angeles, CA 90071
                                          Telephone: (213) 485-1234
                                          Email: jeff.bjork@lw.com
                                                  kim.posin@lw.com


                                          Counsel for UBS Securities LLC and UBS
                                          AG, London Branch




61744638.v2
  Case 21-03020-sgj Doc 121 Filed 10/12/21                Entered 10/12/21 15:32:42           Page 4 of 8



                                      CERTIFICATE OF SERVICE

        I, Candice Carson, certify that this Notice of Status Conference was filed electronically through the

Court’s ECF system, which provides notice to all parties registered to receive notice in this adversary case.

        Dated: October 12, 2021.

                                                                  /s/ Candice M. Carson
                                                                  Candice M. Carson




61744638.v2
  Case 21-03020-sgj Doc 121 Filed 10/12/21   Entered 10/12/21 15:32:42   Page 5 of 8



                                     Exhibit A




61744638.v2
 Case 21-03020-sgj Doc 121 Filed 10/12/21                 Entered 10/12/21 15:32:42            Page 6 of 8

                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                  OFFICE OF THE CLERK




                                                July 1, 2021

                                       CLERK’S NOTICE 21-05

                             PARTICIPATING IN HEARINGS USING WEBEX

For those participating in hearings using the Court’s WebEx audio and video conferencing platform, please
review the following information for helpful tips and instructions. WebEx Connection Information,
providing applicable WebEx links and call-in numbers for the Judges in the Dallas, Fort Worth, and Wichita
Falls Divisions, is attached to this Notice for your reference.

 CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL HEARING
Please connect at least 10 minutes prior to the hearing time using one of the two options below. It is
recommended that attorneys discuss the logistics of the WebEx appearance with their clients/witnesses at
least 48 hours prior to the hearing.

Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
It is strongly preferred that participants who wish to speak during a hearing use the WebEx application
rather than using the “call-in" option described in Option 2.
Attorneys and/or witnesses who anticipate offering extensive testimony or legal argument, or conducting
examination are required to utilize the video function. The Court may consider special requests for other
appearance options on a case-by-case basis. Please contact the appropriate courtroom deputy for the
presiding judge for further information.
Please connect using only one device. Using two or more devices may cause audio feedback issues.
If using a smartphone or tablet for video, it should be set in a stationary position. Holding a phone or tablet
in your hand while speaking does not yield a good video for the Court or other participants.
NOTE: If you are experiencing audio issues when using the WebEx application, you may use the “Call
Me” selection under “Audio Connection” to move just the audio portion of the WebEx conference to your
telephone.


Option 2: Call-in via phone (audio only).
The meeting number/access code and dial-in number can be found on the attached WebEx Connection
Information. Please use *6 or the mute function on your smartphone to mute your line.
     Case 21-03020-sgj Doc 121 Filed 10/12/21                Entered 10/12/21 15:32:42           Page 7 of 8
                                     HELPFUL HINTS AND ETIQUETTE

•   Please use the mute function when you are not speaking. Please be aware that sometimes the Court mutes
    everyone when there is background noise. When you want to speak, make sure you are not on mute. Call-
    in users should dial *6 to unmute your line.

•   Remember to state your name for the record each time before speaking and speak slowly and clearly so the
    Court can get a good record. Also, use your proper name on your device or for your WebEx login when
    participating over video, so that the Court can more easily determine who is speaking.

•   Use headphones whenever possible, especially if using a desktop PC with external speakers. We have found
    that newer iPhones provide the best visual and audio feed – better than most desktop computers. If you are
    on a personal computer, headphones or earbuds are required for those who need to speak during the
    hearing.

•   During examination, attorneys and witnesses should use a separate camera and microphone when
    possible. To avoid feedback, parties using separate devices must not be in the same room. The Court may
    consider special requests on a case-by-case basis.

•   WebEx participants may use the "share" button to easily share their screen or document with the Court or
    other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.

•   When making an appearance from a vehicle, please park in a safe location with windows rolled up (to
    minimize background distraction and noise) and use a headset that is ear-to-phone (not the vehicle’s hands-
    free speaker-phone option).

•   Suggestions for participating in a WebEx hearing from home: If you are having connectivity problems,
    turn off devices that may be using bandwidth on your home network. Devices or applications such as
    Facetime, Roku, streaming media players, video games, or large downloads can negatively impact the audio
    and video quality of the WebEx meeting.

•   Participants are reminded that they should wear attire suitable for court.

•   Participants who wish to test their WebEx connection or the share screen functionality in advance of the
    hearing may arrange a “practice run” by contacting the appropriate courtroom deputy.


                                  EXHIBITS AND DEMONSTRATIVE AIDS
    Exhibits should be filed ahead of time by the date that they would normally be exchanged pursuant to our
    local rules using the "notice" or "list (witness/exhibit/generic)" event in ECF, with a true and correct copy
    of each designated exhibit filed as a separate, individual attachment, so that the Court and all participants
    have ready access to all designated exhibits. For voluminous exhibits, please consult the presiding judge’s
    local exhibit requirements, as it may be necessary for you to provide the Court with an exhibit notebook or
    electronic file in advance of the hearing. For any witness who is to be called to testify remotely, the party
    calling the witness is responsible for supplying the witness or counsel, as appropriate, with paper copies of
    all designated exhibits prior to the hearing.
    Demonstrative aids and PowerPoints should also be filed prior to the hearing, if possible. If not, WebEx
    has the ability to allow you to share your screen, or a particular document, with everyone in the hearing. If
    these documents are admitted as exhibits, they would then have to be filed after the hearing.
Case 21-03020-sgj Doc 121 Filed 10/12/21        Entered 10/12/21 15:32:42      Page 8 of 8

                              WebEx Connection Information


WebEx Meeting Links:
Judge Harlin D. Hale                https://us-courts.webex.com/meet/hale
Judge Stacey G. C. Jernigan         https://us-courts.webex.com/meet/jerniga
Judge Mark X. Mullin                https://us-courts.webex.com/meet/mullin
Judge Edward L. Morris              https://us-courts.webex.com/meet/morris
Judge Michelle V. Larson            https://us-courts.webex.com/meet/larson


WebEx Teleconference Information:
Judge Harlin D. Hale                Dial-in 650-479-3207   Access Code   476-420-189
Judge Stacey G. C. Jernigan         Dial-in 650-479-3207   Access Code   479-393-582
Judge Mark X. Mullin                Dial-in 650-479-3207   Access Code   474-603-746
Judge Edward L. Morris              Dial-in 650-479-3207   Access Code   473-581-124
Judge Michelle V. Larson            Dial-in 650-479-3207   Access Code   160-135-6015
